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Plaintiff

VS.
CR. NO. 04-20405-D

|V|ARANDO BACHUS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELA\’
AND SETT|NG

 

This cause was set for a report date on l\/|ay 19, 2005. Counsel for the defendant
filed a motion for continuance ofthe report date in orderto allow for additional preparation
in the case.

The Court granted the motion and reset the trial date to Ju|y 5, 2005 with a gm
date of Thursda)[l June L_2005. at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federal
Bui|ding, Nlernphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this §§ z day of |V|ay, 2005.

B:§RN|CE B. DONALD

UN|TED STATES D|STR|CT JUDGE

This document entered on the docket hee in co pliance
With Flule 55 and/or 32(b) FRCrP on §:Q" Z’C’

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:04-CR-20405 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

